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Case 2:12-cV-06032-CBI\/|-SH Document 1

Amir J. Goldstein, Esq. (CA Bar No. 25 5620)
ajg@consumercounselgroup.com

5455 Wilshire Boulevard, Suite 1812

Los Angeles, CA 90036

Tel 323.937.0400

Fax 866.288.9194

Attomey for Plaintiff

Filed 07/13/12 Page 1 of 11 Page |D #:S

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UNITED S'I`ATES DISTRICT COURT

CEN'I`RAL DISTRICT OF CALIFORNIA

DANIEL MONTAG, individually and on
behalf of all others similarly situated,

Plaintiff,
v.
MEDICREDIT, INC. d/b/a THE
OUTSOURCE GROUP a/k/a

MEDICREDIT CORPORATION and

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Defenda.nts.

 

 

 

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CLASS ACTION
COMPLAINT FOR DAMAGES

Plaintiff, by and through her attorney, Amir J. Goldstein, Esq., as and for her complaint
against the Defendant MEDICREDIT, INC. d/b/a THE OUTSOURCE GROUP a/k/a
MEDICREDIT CORPORATION, alleges as follows:

lNTRODUCTION

l. This is an action for damages brought by an individual consumer and on behalf of

a class for the Defendant's violations of the F air Debt Collection Practices Act, 15

U.S.C. § 1692 et seq. ("FDCPA") and the Rosenthal Fair Debt Collection

Practices Act, California Civil Code § 1788, et seq. (“Rosenthal Act”) which

prohibits debt collectors from engaging in abusive, deceptive and unfair practices

Class Action Comp|aint for Damages

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10.

PARTIES
Plaintiff is a natural person residing in Los Angeles, Califomia.
Upon information and belief, the Defendant is a debt collector as defined pursuant

to 15 U.S.C. § 1692a(6) with its principal place of business in St. Louis, Missouri.

JURISDICTION
This Court has jurisdiction pursuant to 15 U.S.C. § 16921<(FDCPA) and 28
U.S.C. § 1331 and venue is proper in this district pursuant to 28 U.S.C. § 1391(c),
as the venue is appropriate where the Defendant corporation is subject to

jurisdiction in this district as it regularly conducts business in this district.

FIRST CAUSE OF ACTlON
Plaintiff realleges paragraphs l through 4 as if fully restated herein.
That a personal debt, a hospital bill for medical services rendered to Plaintiff’s
young child, was allegedly incurred by Plaintiff.
That at a time unknown to the Plaintiff herein, the aforementioned debt was
referred and/or assigned to the Defendant for collection.
That on or about September 22, 2011, the Defendant sent the Plaintiff a dunning
notice dated September 22, 2011 in an attempt to collect the aforementioned debt.
(A copy of said letter is attached hereto and made part hereof.)
That said letter contained the following language which overshadows and
contradicts the consumer’s right to dispute the alleged debt: “As required by
law, a negative credit report reflecting on your credit record may be
submitted to a credit-reporting agency if you fail to fulfill the terms of your
credit obligations.”
That said language is deceptive, misleading and false in that it would lead the
least sophisticated consumer to believe that collection agencies are required by

law to report adverse credit records to credit reporting agencies.

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Case 2:12-cV-06032-CB|\/|-SH Document 1 Filed 07/13/12 Page 3 of 11 Page |D #:1

That Defendant’s actions are false and misleading
That the Defendant’s communications contain language demonstrating false
statements and deceptive representations, which contradict the consumer’s rights
in violation of 15 U.S.C. §l692e.
That the Defendant’s communications contain language demonstrating unfair or
unconscionable means to collect or attempt to collect any debt in violation of 15
U.S.C. §l692f.
That Defendant’s use of deceptive language contains false statements and threats
of action that cannot legally be taken or that are not actually intended to be taken
and are designed to coerce payment under duress.
That the Defendant, in a.n attempt to collect a debt, engages in a pattern or
practice of communicating with consumers where the representations made by the
Defendant are confusing, misleading, deceptive and/or unfair.
Defendant’s conduct violates 15 U.S.C. 1692 et seq., including but not limited to
subsections (e) and (t) in that the representations made by the Defendant are
abusive, false, confusing, misleading, deceptive, unfair and fail to advise the
consumer of his legal rights as required by law.

i. The Defendant violated 15 U.S.C. § l692e by using deceptive means in an

attempt to collect a debt; and
ii. The Defendant violated 15 U.S.C. §l692f by engaging in unfair or
unconscionable means to collect or attempt to collect any debt,

That as per 15 U.S.C. § 1692 et seq. and as a result of the above violations, the
Defendant is liable to the Plaintiff and all members similarly situated for actual
damages and statutory damages in an amount to be determined at the time of trial

but not less that $l,000.00 per violation, plus costs and attomey's fees.

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AS AND FOR A SECOND CAUSE OF ACTION ON BEHALF OF PLAINTIFF

18. Plaintiff realleges paragraphs l through 17 as if fully restated herein,

19. The Rosenthal Fair Debt Collection Practices Act (Rosenthal Act), California
Civil Code § 1788, et seq., prohibits unfair and deceptive acts and practices in the
collection of consumer debts.

20. By its acts and practices as hereinabove described, the Defendant has violated the
Rosenthal Act as follows, without limitation: a) The Defendant has violated
§1788 et seq. by making false and deceptive representations and unlawfully
threatening actions which can not legally be taken.

21. Pursuant to § 1788.30 of the Rosenthal Act, Plaintiff is entitled to recover his
actual damages sustained as a result of the Defendant’s violations of the Rosenthal
Act. Such damages include, without limitation, statutory damages, any actual
damages sustained, other resulting monetary losses and damages, and emotional
distress suffered by Plaintiff, which damages are in an amount to be proven at
trial.

22. In addition, because the Defendant’s violations of the Rosenthal Act were
committed willingly and knowingly, Plaintiff is entitled to recover, in addition to
his actual damages, penalties of at least $1,000 per violation as provided for in the
Act.

23. Pursuant to § 1788.30(c) Rosenthal Act, Plaintiff is entitled to recover all

attorneys' fees, costs and expenses incurred in the bringing of this action.

CLASS ALLEGATIONS
24. Plaintiff realleges paragraphs l through 23 as if fully restated herein.
25. The first cause of action is brought on behalf of Plaintiff and the members of a
class.
26. The class consists of consumers who received the same form letters, as did the

Plaintiff.

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27. The Class consists of all persons whom Defendant’s records reflect resided in the
state of California and who were sent collection letters (a) bearing the
Defendant’s letterhead in substantially the same form as the letter(s) sent to the
Plaintiff, (b) the collection letters were sent to consumers seeking payment of a
consumer debt; (c) that the letters contained violations of 15 U.S.C. §§ 1692e and
1692f.

28. Pursuant to Federal Rule of Civil Procedure 23, a class action is appropriate and
preferable in this case because:

(A) Based on the facts that the collection letters that are at the heart of this
litigation are mass-mailed and computer-generated form letters, the class is so numerous
that joinder of all members is impracticable

(B) There are questions of law and fact common to the class and these
questions predominate over any questions affecting only individual class members. The
principal question presented by this claim is whether the Defendant violated the FDCPA
by failing to follow appropriate procedures.

(C) The only individual issue is the identification of the consumers who
received the letters, (i.e. the class members), a matter capable of ministerial determination
from the records of Defendant.

(D) The claims of the Plaintiff are typical of those of the class members. All
are based on the same facts and legal theories.

(E) The Plaintiff will fairly and adequately represent the class members’
interests. The Plaintiff has retained counsel experienced in bringing class actions and
collection-abuse claims. The Plaintiff’s interests are consistent with those of the members
of the class.

29. A class action is superior for the fair and efficient adjudication of the class
members’ claims. Congress specifically envisions class actions as a principal
means of enforcing the FDCPA. 15 U.S.C. 1692(k). The members of the class are

generally unsophisticated individuals, whose rights will not be vindicated in the

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Class Action Comp|aint for Damages

 

 

 

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absence of a class action. Prosecution of separate actions by individual members
of the classes would create the risk of inconsistent or varying adjudications
resulting in the establishment of inconsistent or varying standards for the parties
and would not be in the interest of judicial economy.
30. If the facts are discovered to be appropriate, the Plaintiff will seek to certify a
class pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.
31. Collection letters, such as those sent by the Defendant, are to be evaluated by the
objective standard of the hypothetical “least sophisticated consumer.”
32. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:
i. Defendant violated 15 U.S.C. § 1692e by using false representations and
deceptive means in an attempt to collect a debt and
ii. Defendant violated 15 U.S.C. §l692f by using unfair or unconscionable

means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant in the
amount of:

(a) Statutory damages and actual damages pursuant to 15 U.S.C. § 1692k in an
amount to be determined at the time of trial on behalf of the class on the first cause of action.

(b) Statutory damages and actual damages pursuant to Civil Code §1788.30 et seq., as
to the second cause of action.

(c) Costs and reasonable attomey's fees pursuant to 15 U.S.C. § 1692k and Civil
Code §1788.30, et seq.

(d) For such other and further relief as may be just and proper.

(e) Plaintiff requests trial by jury on all issues so triable.

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Class Action Comp|aint for Damages

 

 

 

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Case 2:12-cV-06032-CB|\/|-SH Document 1 Filed 07/13/12 Page 7 of 11 Page |D #:1

Dated: July 10, 2012 AMIR J. G ` TEIN, ESQ.

 

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Attorney for Pl ' tiff

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C|ass Action Comp|aint for Damages

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMEN'I` TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Consuelo B. Marshall and the assigned
discovery Magistrate Judge is Stephen J. Hillman.

The case number on all documents filed with the Court should read as follows:

CV12- 6032 CBM (SHx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
li/ed, a copy of this notice must be served on all plaintil?s).

Subsequent documents must be hled at the following location:

Westem Division [_] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR D|SCOVERY

Case 2:12-cV-06032-CB|\/|-SH Document 1 Filed 07/13/12 Page 9 of 11 Page |D #:16

Name & Address:

Amir J. Goldstein, Esq. (CA Bar No. 255620)
5455 Wilshire Boulevard, Suite 1812

Los Angeles, CA 90036

Tel 323.937.0400

Fax 866.288.9194

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALlFORNIA

DANIEL MONTAG, individually and on behalf of all CASE NUMBER

others similarly situated,
v PLAlNTlFF(s) Cvlz-éozz\(*K}/y&(§(`/j

MEDICREDIT, INC. d/b/a THE OUTSOURCE
GROUP a/k/a MEDICREDIT CORPORATION and
DOES 1 through 10 inclusive, SUMMONS

DEFENDANT(S).

 

To: DEFENDANT(s);

A lawsuit has been filed against you.

Within 21 days afier service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint 13 amended complaint
El counterclaim El cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attomey, Amir -1- Goldstein, ESq- , whose address is
5455 Wilshire Boulevard, Suite 1812 Los Angeles, CA 90036 _ If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

  

JU ~
Dated: L 13 2012 By:

[Use 60 days if the defendant is the United States or a United States agency, or is an ojicer or employee of the United States. Allowed
60 days by Rule lZ(a)(3)].

 

CV-01A (10/11 SUMMONS

Case 2:12-cV-06032-CB|\/|-SH Document 1 Filed 07/13/12 Page 10 of 11 Page |D #:17

UN|TED STATES DISTR|CT COURT, CENTRAL DlSTRlCT OF CALIFORNlA
ClVlL COVER SHEET

 

l(a) PLA|NTlFFS (Check box if you are representing yourself El)

DANlEL MONTAG, individually and on behalf of all others similarly situated,

DEFENDANTS
MEDlCREDlT, INC. d/b/a THE OUTSOURCE GROUP a/k/a MEDICREDIT

CORPORATION and DOES 1 through 10 inclusive,

 

(b) Attomeys (Firrn Name, Address and Telephone Number. lf you are representing

yoursell`, provide same.)

Amir J. Goldstein, Esq. (CA Bar No. 255620)
5455 Wilshire Boulevard, Suite 1812, Los Angeles, CA 90036

Tel 323.937,0400

 

Attomeys (lt` Known)

 

11. BASIS OF leSDlCl'loN (Flace an X in one box only.)

El 1 U.S. Govemment Plaintiff

Cl 2 U.S. Govemment Defendant

13 Federal Qnesrion (u.s.

Govemment Not a Party)

Cl 4 Diversity (lndicate Citizenship
of Parties in ltem 111)

111. ClTlZENSHIP OF PRlNCIPAL PART|ES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

Citizen ol`This State

Citizen of Another State

 

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Citizen or Subject of a Foreign Country 121 3

DEF PTF DEl-`

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1V. ORlGIN (Place an X in one box only.)

dl Original 121 2 Removod from C] 3 Remanded from 13 4 Reinstated or 13 5 Transferred from another district (specify): Cl 6 Mu|ti- 13 7 Appea| to District
Proceeding State Coun Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

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class Ac'rloN under F.iz.c.r. 23: aner l:l No

Vl. CAUSE OF ACI`ION (Citc the U.S. Civil Statute under which you are 11

Cl MONEY DEMANDED lN COMPLAINT: $

ling and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

15 USC 1692 et seq', violations of the Fair Debt Collection Practices Act (”FDCPA")
Vll. NATURE OF SUl'l' (Place an X 111 one box only.)

 

 

 

 

 

 

 

 

 

 

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111 410 Antitrust 1'_'| 120 Marine n 310 Alrp|an¢ PROPERTY C] 510 Motions to Act
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13 893 Environmental Matters REAL PROPBRTY lnjury Product Disabilities - Cl 640 R.R. & Truck (405(g))
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FOR 0FF1CE USE ONLY: Case Number: _
A|’-'I`ER COMPLET\NG THE FRONT SlDE OF FORM CV-71. COMPLETE THE INFORMATION REQUESTED BELOW.
cv-7i (os/os) ClvlL Covl=;R sHEE'r rage l of2

Case 2:12-cV-06032-CB|\/|-SH Document 1 Filed 07/13/12 Page 11 of 11 Page |D #:18

UNlTED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALlFORNlA
ClVlL COVER SHEET

V`Ill(a). lDEN'l`lCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? dNo El Yes
lf yes list case number(s):

 

Vlll(h). RELATED CASES: Have any cases been previously filed in this court that are related to the present case'? dNo Cl Yes
lf ye¢, list case number(s):

 

Clvtl cases ana deemed related 11’ a previously filed case and the preent case:
(Check all boxes that apply) 111 A. Arise from the same or closely related transactions, happenings, or events; or
121 B. Call for determination of` the same or substantially related or similar questions of law and fact; or
|'_`l C. For other reasons would entail substantial duplication of labor if heard by different judges; or
CJ D. lnvolve the same patent, trademark or copyright, gn_d one of the factors identified above in a, b or c also is present

 

lX. VENUE: (When completing the following infonnation, use an additional sheet if necessary.)

(a) List the County in this District; California Couniy outside of this District', State ifother than Califomia; or Foreigii Country, in which EACH named plaintiff resides
Cl Check here if the govemment, iMes or employees is a named plaintiff lf` this box is checked, go to item (b).

 

Conniy in this District:' California County outside of this District; State, if other than Califomia'. or Foreign Col.mtry
bos Angeles

 

 

(b) List the County in this District', California County ouuide of this District', State if other than Califomia; or Foreign Counu'y, in which EACH named defendant resides
Il Check here if the governmentl its §gencies or employees is a named defendant lf this box is checked, go to item (c).

 

County in this District;’ California County outside of this District; State, il' other than California; or Foreign Courltry

 

Missouri

 

 

 

(c) List the County in this District; California County ouwide of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: lo land condemnation cases, use the location of the tract of land lnvolved.

 

County in this District:° California County outside of this District; State, if other than Califomia; or Foreign Oountry
Los Angeles

 

 

 

 

 

 
 
 
  
 
 

* fm Angeles, Orange, San Bernardino, Riverslde, Ventura,

Note: ln land condemnation use the location of the tract of l

Ba ara, or San Luis Oblspo Countiea

     

 

    

 

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Notie¢ to ConasellPartiea: The CV-7l (JS-44) Civil Cover Sh d the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This fomi, approved by the ludicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet)

X. SIGNATURE OF A'l'l`ORNEY (OR PRO PER):

 

 

 

 

Key to Statistical codes relating to Social Security Cases:
Nat\ire ofSult Code Abbrevlation Substantive Statement of Cause of Action

861 HlA All claims for health insurance benefits (Medicare) under Title 18, Fart A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Saf'ety Act of 1969.
(30 U.S.C. 923)

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended'. plus all claims filed for child's insurance benefits based on disability (42 U.S.C. 405(g))

863 DlWW All claims filed f`or widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSlD A|l claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSl A|l claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2

